Case 1:17-cV-02577-.]SR-SN Document 24 Filed 08/21/17 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

XIXIANG YANG, LILING LIU, and

QIQI XU, individually and derivatively on

behalf of Nominal Defendant

GR SUPPLY CHAIN MANAGEMENT INC., NOTICE OF MOTION

Plaintiffs,
-against-

ZHIYU LUO, Case No.: 17-CV-02577 (JSR)

Defendant,
-and-

GR SUPPLY CHAIN MANAGEMENT INC.,

Nominal Defendant.

 

X

 

PLEASE TAKE NOTICE that the undersigned attorney Renee M. Wong, Esq., Will
move this Court, before the Honorable J ed S. Rakoff, Judge of the United States District Court,
Southern District of NeW Yorl<, at the United States Courthouse, 500 Pearl Street, NeW York,
NeW Yorl< for an Order pursuant to Federal Rules of Civil Procedure 37 for sanctions based on
Plaintiffs’ counsel’s failure to cooperate in discovery and foran Order pursuant to Federal Rule
of Civil Procedure 56 granting Summary Judgment in favor of the Defendant ZHIYU LUO as
there is no genuine dispute as to any material fact and the Defendant is entitled to judgment as a
matter of laW.

The schedule for service and filing of the parties’ papers is as folloWs:

Defendant/Movant to tile and serve motion papers by September 18, 2017;
Plaintiffs/Respondents to tile and serve opposition papers by October 2, 2017; and

Defendant/l\/lovant to file and serve reply papers by October 9, 2017.

 

Case 1:17-cV-O2577-.]SR-SN Document 24 Filed 08/21/17 Page 2 of 2

The Court has set oral argument for October 23, 2017 at 4PM.

Dated: August 21, 2017

Respectfully submitted,

Goldberger & Dubin, P. C.

By: Renee M. Wong, Esq.

TO: Clerk of the Court
United States District Court
Southern District of NeW Yorl<

Ra’Shaun J. Kelley
Attorney for Plaintiffs

 

